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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STANDING ROCK SIOUX TRIBE,
        Plaintiff,
        and
 CHEYENNE RIVER SIOUX TRIBE,
        Plaintiff-Intervenor,
                                                      Civil Action No. 16-1534 (JEB) (and
              v.                                      Consolidated Case Nos. 16-1796 and
                                                      17-267)
 U.S. ARMY CORPS OF ENGINEERS,
        Defendant,
        and
 DAKOTA ACCESS, LLC,
        Defendant-Intervenor and Cross-
        Claimant.


    FOURTH BI-MONTHLY REPORT OF DAKOTA ACCESS, LLC REGARDING
                PIPELINE CONDITIONS AT LAKE OAHE

        Pursuant to the Court’s order dated December 4, 2017, Dakota Access, LLC files this fourth

bi-monthly report regarding the ten specified conditions at the segment of the Dakota Access Pipe-

line (“DAPL”) crossing Lake Oahe. This report covers the period April 28, 2018 through June 27,

2018.




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a.       Inline-inspection run results or direct-assessment results performed on the

         pipeline during the reporting period:

         Inline-inspection tools were run on the pipeline segment on May 17-18, and

         June 12-13, 2018. Final data analysis for both runs is not yet available. Data anal-

         ysis is performed in Germany by the manufacturer of the inline-inspection tools,

         and the standard time frame for completing such data analysis is 3-6 months from

         the run date.

b.       The results of all internal-corrosion management programs and any actions

         taken in response to findings of internal corrosion:

         Corrosion coupons containing water and solid samples were retrieved on May 22-

         23, 2018, and the samples were tested. Pigging, water and solids sampling, and

         coupon corrosion rate results to date are consistent with parameters expected at this

         stage of the pipeline’s operation. No changes to the internal corrosion program

         were made during this reporting period based on these results.

c.       Any new encroachment on the right‐of‐way during the reporting period:

         There have been no encroachments on the right-of-way at the pipeline segment

         during the reporting period.

d.       Any new integrity threats identified during the reporting period:

         There have been no integrity threats identified at the pipeline segment during the

         reporting period.

e.       Any reportable incidents that occurred during the reporting period:

         There have been no reportable incidents at the pipeline segment during the report-

         ing period.




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f.       Any leaks or ruptures that occurred during the reporting period:

         There have been no leaks or ruptures at the pipeline segment during the reporting

         period.

g.       A list of all repairs on the segment made during the reporting period:

         There have been no repairs on the pipeline segment during the reporting period.

h.       Ongoing damage-prevention initiatives on the pipeline and an evaluation of

         their success or failure:

         Damage-prevention initiatives continue to be successfully implemented along the

         pipeline segment in conjunction with damage-prevention initiatives for the pipeline

         route more generally. These include aerial patrolling to help identify any unknown

         activities near the pipeline, and standard facility markings and signage, State one-

         call systems, routine inspections, public awareness programs, and other security

         measures to help avoid and mitigate third-party damage. To date the systems in

         place for the pipeline segment have been effective with no damage identified.

i.       Any changes in procedures used to assess and monitor the segment:

         There have been no changes in procedures used to assess and monitor the pipeline

         segment during the reporting period.

j.       Any company mergers, acquisitions, transfers of assets, or other events affect-

         ing the management of the segment:

         There have been no mergers, acquisitions, transfers of assets, or other events af-

         fecting the management of the pipeline segment during the reporting period.




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Dated: June 29, 2018                           Respectfully submitted,


                                                /s/ William S. Scherman
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                       Counsel for Dakota Access, LLC




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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of June, 2018, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                   /s/ William S. Scherman
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